     Case: 1:17-cv-06394 Document #: 11 Filed: 11/29/17 Page 1 of 1 PageID #:29

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Jarrett Fusilier
                                     Plaintiff,
v.                                                  Case No.: 1:17−cv−06394
                                                    Honorable Sharon Johnson Coleman
Rizza Buick GMC Cadillac, Inc.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 29, 2017:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Status hearing
held on 11/29/2017. Parties have reached a settlement. This action is dismissed without
prejudice for 30 days. If no motion to reinstate is filed by 12/29/2017, the dismissal shall
automatically convert to one with prejudice with no further action by the court. Civil case
terminated. Mailed notice (rth)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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